 Case 5:24-cv-05101-TLB          Document 2        Filed 05/02/24      Page 1 of 9 PageID #: 2




                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION
______________________________________________________________________________

PROGRESSIVE TECHNOLOGIES, INC. )
     Plaintiff,                )
                               )
                               )
v.                             )                             No. 5:24-cv-05101-TLB
                               )
ADEPT PATRIOT SERVICES, LLC,   )
     Defendant.                )
                               )



             COMPLAINT FOR BREACH OF CONTRACT AND OTHER RELIEF


        COMES NOW Progressive Technologies, Inc. (“Progressive”), by and through counsel,

and submits its Complaint for Breach of Contract and Other Relief as follows:

                                            PARTIES

        1.      Plaintiff Progressive is a Tennessee corporation licensed to do business in the

State of Arkansas. Progressive has its principal place of business at 3750 Old Getwell Road,

Memphis, TN 38118. Progressive engages in low voltage, security, and technology solutions

sales and installation.

        2.      Upon information and belief, Defendant Adept Patriot Services, LLC (“Adept”) is

a limited liability company organized under the laws of Virginia. Upon information and belief,

no members of Adept are citizens of Tennessee. Adept may be served with process through its

registered agent, Virginia Registered Agent Services, LLC 4445 Corporation Lane, Suite 264,

Virginia Beach, VA 23462
 Case 5:24-cv-05101-TLB           Document 2          Filed 05/02/24     Page 2 of 9 PageID #: 3




                                 JURISDICTION AND VENUE

          3.    This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the action is between citizens of different states and the matter in controversy exceeds

$75,000.00, exclusive of interest and costs.

          4.    This Court has personal jurisdiction over Adept as this cause of action arises out

of Adept’s contacts with the State of Arkansas.

          5.    Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claims occurred in this judicial district.

                                   FACTUAL BACKGROUND

A.        Progressive’s Contract with Adept

          6.    Adept was the general contractor for the expansion and alteration of the fire alarm

system at the Veterans’ Affairs Health Care System Campus located in Fayetteville, Arkansas

(the “Project”).

          7.    The Project was to be performed on a public building owned by the United States

of America, Department of Veteran Affairs (the “VA”).

          8.    The Project initially consisted of the installation of conduit and power, followed

by the installation and testing of a fire alarm system, for twenty-one buildings, among other

things.

          9.    On or about April 1, 2021, Adept and Progressive entered into a contract for

Progressive to perform the fire alarm portion of the Project, among other things (the

“Subcontract”). A copy of the Subcontract is attached as Exhibit A and incorporated herein by

reference.




                                                  2
 Case 5:24-cv-05101-TLB           Document 2           Filed 05/02/24    Page 3 of 9 PageID #: 4




       10.     As provided in the Subcontract, Progressive was to perform, among other things,

“[d]emolition, installation, testing, [and] commissioning of the Fire Alarm System per the project

documents.” Ex. A at 1. Conduit and power were to be provided by others, and Adept was to

provide and install fiber optic cabling. Id.

       11.     The Subcontract provided that Adept “shall pay Subcontractor the sum of

$171,555.00 for the performance of the scope of work as stated above.” Ex. A at 1. The

Subcontract further provided that any retention held by Adept “shall be paid upon completion

and acceptance by the Owner.” Id.

       12.     Progressive performed work on the Project for which it has not been paid.

       13.     The Project was plagued by disruptions in work, inefficiencies which caused work

to have to be performed out of sequence, inaccessible work areas, issues with work performed by

other subcontractors and/or Adept that affected the critical path, supply chain issues, and other

delays and problems, none of which were caused by Progressive, but which resulted in damages

to Progressive, the exact amount of which will be proven at trial.

       14.     Axis Electric (“Axis”), the subcontractor responsible for installing conduit and

power to each of the buildings, began its portion of the work on or about June 15, 2021.

       15.     The critical path of the project required that Axis and/or Adept complete their

work prior to Progressive’s work commencing.

       16.     During the course of Progressive’s work, Progressive discovered issues with work

performed by Axis and/or Adept and informed Adept of those issues.

       17.     The issues with Axis’s and/or Adept’s work included, but are not limited to,

failure to place conduit as required by the plans, installation of the incorrect type of electrical




                                                   3
 Case 5:24-cv-05101-TLB            Document 2         Filed 05/02/24    Page 4 of 9 PageID #: 5




box as needed for the fire alarm system, failure to install the correct pathways, and failure to

correctly install fiber optic cabling.

        18.     Due to the actions and omissions of Axis and/or Adept that were outside the

control of Progressive, Progressive was not able to complete its work by the deadline, December

17, 2021.

        19.     On or about January 14, 2022, the VA accepted the Project, except for two work

stations that had not been installed due to shipping delays by the fire alarm manufacturer,

Notifier, a company affiliated with Honeywell International (“Notifier”).

        20.     On or about February 10, 2022, one of the monitors for a work station arrived.

Adept instructed Progressive to hold the monitor and delay installation of the two work stations

until the second monitor arrived.

        21.     On or about February 21, 2022, Progressive informed Adept that Notifier had

delayed the shipping date for the second monitor.

        22.     On or about February 22, 2022, Adept sent a punch list of outstanding items on

the Project. Only one item on the punch list was Progressive’s responsibility, and Progressive

remedied that item the same day.

        23.     On or about Wednesday, April 6, 2022, Adept changed course and asked

Progressive whether it could install the two workstations that week.

        24.     This was the first notice Progressive received that Adept wanted Progressive to

proceed with the installation of the two workstations without the second monitor.

        25.     Adept’s request did not provide Progressive with sufficient time to permit

Progressive to mobilize its teams who were schedule to work on other jobs.




                                                  4
 Case 5:24-cv-05101-TLB           Document 2          Filed 05/02/24     Page 5 of 9 PageID #: 6




        26.      Progressive began work to install the two work stations on or about April 21,

2022.

        27.      Progressive’s work installing the two work stations was again delayed by issues

outside of its control, including, but not limited to, additional issues with the fiber optic cabling

installed by Adept, availability of the VA’s representative, and requests by the VA outside the

scope of Progressive’s work for Progressive to develop workarounds to make the VA’s existing

outdated software work with the new system without purchasing new licenses for the entire

campus.

        28.      On or about April 29, 2022, Progressive completed the installation of the two

work stations, except for the second monitor.

        29.      Adept then removed the installation of the second monitor from Progressive’s

scope of work.

        30.      Thereafter, Progressive was on site intermittently to troubleshoot some issues,

which were resolved. During this period, Progressive troubleshooted issues that were outside of

its scope of work as a courtesy and without charge to the VA and Adept.

        31.      On or about May 23, 2022, the two work stations were programmed and fully

operational.

B.      Adept Breaches the Subcontract by Failing to Pay Progressive.

        32.      On or about September 17, 2021, Progressive submitted its Pay Application No. 1

for $54,576.73, with the payment due (net of retainage) of $49,113.05.

        33.      On or about November 9, 2021, Progressive submitted Pay Application No. 2 for

$26,586.71, with the payment due (net of retainage) of $23,928.06.

        34.      On or about December 30, 2021, Adept approved payment of $22,420.83 for Pay

Application No. 1 and $22,993.78 for Pay Application No. 2
                                                  5
 Case 5:24-cv-05101-TLB          Document 2          Filed 05/02/24   Page 6 of 9 PageID #: 7




       35.     On or about February 10, 2022, Progressive received an email stating that Adept

had approved $22,420.83 for Pay Application No. 1 and $22,993.78 for Pay Application No. 2.

       36.     On or about February 11, 2022 and February 12, 2022, Progressive requested that

Adept provide an explanation for the discrepancy in the approved payments versus the amounts

requested in Pay Applications Nos. 1 and 2.

       37.     On February 11, 2022, Adept emailed Pay Applications Nos. 1 and 2 with the

notes and adjustments made.

       38.     On February 12, 2022, Progressive followed up with an email inquiring about the

reason for the unsubstantiated reductions.

       39.     On or about February 14, 2022, Adept stated in an email to Progressive that the

“short pay was based on the project status at the time” but “[m]ost of the equipment is installed

now” so Adept would “update the payment amount to match the work completion.”

       40.     In reliance upon Adept’s representation that additional payment would be

forthcoming and that it would be “easier” and “cleaner” if Progressive adjusted the amount it

billed in Pay Applications Nos. 1 and 2 to match the amount that Adept had approved,

Progressive adjusted Pay Applications Nos. 1 and 2 to match the payments that were then in

progress, and prepared Pay Application No. 3 to reflect the project as complete with the final

balance due.

       41.     On February 15, 2022, Progressive submitted the adjusted Pay Applications Nos.

1 and 2, and the final Pay Application No. 3 for $121,094.31, with the payment due (net of

retainage) of $108,984.88.




                                                 6
 Case 5:24-cv-05101-TLB          Document 2         Filed 05/02/24      Page 7 of 9 PageID #: 8




       42.     On February 17, 2022, Progressive received the payments for the adjusted Pay

Application Nos. 1 and 2, in the amount of $22,420.83 and $22,993.78, respectively. Adept

withheld $5,046.07 as retainage for Pay Applications Nos. 1 and 2.

       43.     After multiple follow up emails regarding payment, on or about June 22, 2022,

Adept claimed that it incurred $53,084.18 in costs due to delay, most of which consisted of

multiple Adept personnel attending weekly meeting with the VA regarding the Project’s status.

Adept indicated that it would approve $67,951.41 of the total outstanding balance of

$126,140.38, including the previously withheld retainage.

       44.     On May 8, 2023, Progressive disputed Adept’s claims that it incurred costs due to

Progressive’s delay and requested full payment of the outstanding balance of $126,140.38.

       45.     On May 9, 2023, Adept then changed its previous position and informed

Progressive that it would not be paying any of the $126,140.38 balance owed on the Project.

       46.     Progressive is owed $126,140.38 under the Subcontract

                          COUNT ONE: BREACH OF CONTRACT

       47.     Plaintiff hereby incorporates Paragraphs 1 through 46.

       48.     As the general contractor for the Project, Adept contracted with Progressive to

supply labor and materials for work described in the Subcontract.

       49.     Adept has refused to pay amounts due to Progressive in breach of the Subcontract

       50.     As a result, Progressive has been damaged in an amount exceeding $126,140.38.

  COUNT TWO: BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

       51.     Plaintiff hereby incorporates Paragraphs 1 through 50.

       52.     The Subcontract included implied covenants of good faith and fair dealing which

inured to the benefit of Progressive.



                                                7
 Case 5:24-cv-05101-TLB          Document 2            Filed 05/02/24   Page 8 of 9 PageID #: 9




       53.     Adept’s conduct violates standards of decency, fairness, and reasonableness.

       54.     Adept breached its obligation of good faith and fair dealing toward Progressive,

resulting in damages to Progressive in an amount to be proved at trial.

                         COUNT THREE: UNJUST ENRICHMENT

       55.     Plaintiff hereby incorporates Paragraphs 1 through 54.

       56.     Pleading in the alternative, as prime contractor for the Project, Adept has been

paid for the work performed and materials supplied by Progressive and received the benefit of

Progressive’s work.

       57.     If Adept were permitted to retain payments made to it under the contract for the

Project without, in turn, compensating Plaintiff for the work and materials it supplied, Adept

would be unjustly enriched.

       58.     Therefore, Progressive is entitled to damages from Adept in an amount exceeding

$126,140.38.

                      COUNT FOUR: STATUTORY ATTORNEYS’ FEES

       59.     Plaintiff hereby incorporates Paragraphs 1 through 58.

       60.     Arkansas Code Annotated § 16-22-308 provides that in a civil action to recover

on a contract relating to the purchase or sale of goods, wares, or merchandise, or for labor or

services or breach of contract, the prevailing party may be allowed a reasonable attorney’s fee to

be assessed by the Court and collected as costs.

       61.     Progressive respectfully requests that the Court award it its reasonable attorneys’

fees against Adept pursuant to Arkansas Code Annotated § 16-22-308.




                                                   8
Case 5:24-cv-05101-TLB          Document 2           Filed 05/02/24     Page 9 of 9 PageID #: 10




                                         CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays as follows:

       1.      That proper process issue and be served upon the Adept requiring it to answer or

otherwise respond;

       2.      That Plaintiff be awarded compensatory damages in the amount of $126,140.38

plus consequential damages;

       3.      That a judgment be entered against Adept for pre-and post-judgment interest;

       4.      That all court costs be adjudged against the Adept;

       5.      That Adept pay all of Plaintiff’s attorneys’ fees and costs as required under

Arkansas Code Annotated § 16-22-308; and

       6.      That this Court grant any and all other relief, specific or general, to which

Plaintiff may be entitled.



                                              Respectfully submitted,

                                              /s/ Shea Sisk Wellford
                                              Shea Sisk Wellford (Ark Bar No. 95231)
                                              Martin, Tate, Morrow & Marston, P.C.
                                              6410 Poplar Avenue, Suite 1000
                                              Memphis, TN 38119-4839
                                              Telephone: (901) 522-9000
                                              Facsimile: (901) 527-3746
                                              sheawellford@martintate.com

                                              Attorneys for Progressive Technologies, Inc.




                                                 9
